          Case 1:12-cv-01169-JRN Document 117 Filed 01/02/14 Page 1 of 1


                                                                                     FILED
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                            JAN -2     PM     I:
                                  AUSTIN DIVISION
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                                                                            CLEIlK US USTRCT COURT
                                                                           WESTERN DISTRICT OF TEXAS
DAVID H. GOODMAN, on behalf of                     §
himself and derivatively on behalf of              §
                                                                                        DEPUTY
KEY INGREDIENT CORPORATION,                        §
                                                   §
                      Plaintiff,                   §
                                                   §
   v.                                              §        Civil Action No.   1: 12-cv-01   169-SRN
                                                   §
PHILIPPE CREVOISIER, CHRISTOPHE                    §
BOUZIGUES, KEVIN CAMPHUIS, SEB                     §
S.A.S. d/b/a SAS SEB, SEB S.A. d!b/a GROUPE        §
SEB, and SEB ALLIANCE dlb/a GROUPE SEB             §
ALLIANCE,                                          §
                    Defendants.                    §


                                            ORDER

        The Court has considered the agreed motion to approve settlement, filed by Plaintiff and

Defendants. Having considered the motion pursuant to Rule 23.1 of the Federal Rules of Civil

Procedure, the Court finds (i) that Key Ingredient Corporation has only two shareholders

Plaintiff Goodman and Defendant SEB Alliance, and (ii) that each shareholder of Key Ingredient

Corporation has notice of, and has expressly agreed to, the terms of the proposed settlement.

The Court is satisfied that the purposes of Rule 23.1 have been achieved. The Court therefore

        ORDERS that the parties' proposed settlement be, and it hereby is, APPROVED.

        The Court FURTHER ORDERS that the parties shall promptly file appropriate papers to

achieve dismissal of this action.

        SIGNED this 31st day of Decemb




                                                ORABLE JAMES R. NOWLIN
                                               STATES DISTRICT JUDGE
